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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE:                           :                         CHAPTER 7
                                 :
CHARESE BRADEN FOREMAN,          :                         CASE NO. 23-52395-pmb
                                 :
      DEBTOR.                    :
________________________________ :
                                 :
MARY IDA TOWNSON,                :
UNITED STATES TRUSTEE,           :
                                 :
      PLAINTIFF.                 :                         CONTESTED MATTER
                                 :
V.                               :
                                 :
CHARESE BRADEN FOREMAN,          :
                                 :
      DEFENDANT.                 :
________________________________ :

                           MOTION OBJECTING TO DISCHARGE
                            PURSUANT TO SECTION 727(a)(8)

        COMES NOW MARY IDA TOWNSON, United States Trustee for Region 21,

and moves this Honorable Court to enter an order denying a discharge to CHARESE

BRADEN FOREMAN (“Debtor” or “Defendant”) pursuant to Bankruptcy Code section

727(a)(8). In support of this motion, the United States Trustee respectfully shows as

follows: 1




1
 Amended Rule 4004(d) provides that an objection to discharge under section 727(a)(8) is commenced by motion
and governed by Rule 9014.
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                                 STATEMENT OF FACTS

                                              1.

        On March 13, 2023, Debtor commenced the underlying bankruptcy case (Case No.

23-52395-pmb) by filing a pro se petition for relief (the “2023 Petition”) under chapter 7

of the United States Bankruptcy Code using Social Security Number xxx-xx-7781 (the

“2023 Case”).

                                              2.

        S. Gregory Hays was duly appointed as chapter 7 Trustee (the “Trustee”).

                                              3.

        The Trustee will hold the initial chapter 7 § 341 Meeting of Creditors on April 17,

2023.

                                              4.

        Debtor indicated in the 2023 Petition that she had previously filed a bankruptcy

petition within the last eight years but did not provide any information as to the district or

date of filing. (Doc. No. 1, pg. 3.)

                                              5.

        Records maintained by the Clerk of Court for the United States Bankruptcy Court,

Northern District of Georgia, reflect that on March 28, 2017, less than eight years before

she commenced the 2023 Case, Debtor filed a voluntary pro se petition under chapter 7

of the Bankruptcy Code, case no. 17-55634-mgd, using the same Social Security Number

xxx-xx-7781 (the “2017 Case”).
                                              2
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                                                             6.

           Pursuant to 11 U.S.C. § 727, Debtor received a chapter 7 discharge in the 2017

Case on July 26, 2017. (Doc. No. 31, case no. 17-55634-mgd.)



                    STATEMENT OF APPLICABLE STATUTE AND RULES

                                                             7.

           At the time Debtor filed the 2023 Petition, 11 U.S.C § 727(a)(8) provided that a

debtor shall not be granted a chapter 7 discharge if the debtor had been granted a chapter

7 discharge in a case commenced within eight years before the date of the filing of the

petition.

                                                             8.

           Having received a chapter 7 discharge in the 2017 Case, 11 U.S.C. § 727(a)(8)

prohibits Debtor from receiving a chapter 7 discharge in the 2023 Case.

                                                             9.

           Pursuant to Federal Rules of Bankruptcy Procedure 4004(a), the deadline for filing

a motion objecting to the Debtor’s discharge in this case is June 17, 2023. 2 Therefore

this motion is timely filed.




2
    The first date set for the chapter 7 § 341 Meeting of Creditors is April 17, 2023.

                                                             3
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                                    CONCLUSION

                                           10.

      Debtor received a chapter 7 discharge in a bankruptcy case (Case No. 17-55634-

mgd) that she commenced less than eight years before she filed the 2023 Case.

                                           11.

      The United States Trustee timely files this motion.

                                           12.

      As a matter of law, Debtor is not eligible to receive a chapter 7 discharge in the

2023 Case. 11 U.S.C. § 727(a)(8).



      Wherefore, Plaintiff prays for the entry of an Order denying the Debtor a chapter 7

discharge in the 2023 Case and for such further relief as the Court deems appropriate.


Dated: April 7, 2023                             MARY IDA TOWNSON
                                                 UNITED STATES TRUSTEE
                                                 REGION 21

                                                 /s/ Thomas W. Dworschak
                                                 Thomas W. Dworschak
                                                 Attorney for the United States Trustee
                                                 Georgia Bar No. 236380
                                                 United States Department of Justice
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                                                 (404) 331-4439
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                            CERTIFICATE OF SERVICE

      This is to certify that I have on April 7, 2023, electronically filed the foregoing
MOTION OBJECTING TO DISCHARGE PURSUANT TO SECTION 727(a)(8) using the
Bankruptcy Court’s Electronic Case Filing program, which sends a notice of this
document and an accompanying link to this document to the following parties who have
appeared in this case under the Bankruptcy Court’s Electronic Case Filing program:

      S. Gregory Hays                    ghays@haysconsulting.net

       I further certify that I have on April 7, 2023, caused a copy of this document to be
served via United States First Class Mail, with adequate postage prepaid on the following
party at the address shown:

       Charese Braden Foreman
       3145 Saint Andrews Way
       Duluth, GA 30096


                                                 /s/ Thomas W. Dworschak




                                            5
